                        Case 5:14-cv-05344-BLF Document 426-7 Filed 08/05/16 Page 1 of 13




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                16
                17 CISCO SYSTEMS, INC.,                             CASE NO. 5:14-cv-5344-BLF
                18                 Plaintiff,                       CISCO SYSTEMS, INC.’S MOTION TO
                                                                    EXCLUDE OPINION TESTIMONY OF
                19          vs.                                     WILLIAM M. SEIFERT
                20 ARISTA NETWORKS, INC.,                           REDACTED VERSION
                21                 Defendant.                            Date: September 9, 2016
                                                                         Time: 9:00 a.m.
                22                                                       Dep’t: Courtroom 3, 5th Floor
                                                                         Judge: Hon. Beth Labson Freeman
                23
                                                                         Date Filed: December 5, 2014
                24
                                                                         Trial Date: November 21, 2016
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                                                                                        Case No. 5:14-cv-5344-BLF
99998-77952/8229128.1                       CISCO’S MOTION TO EXCLUDE OPINION TESTIMONY OF WILLIAM M. SEIFERT
                         Case 5:14-cv-05344-BLF Document 426-7 Filed 08/05/16 Page 2 of 13



                                                                     TABLE OF CONTENTS
                  1                                                                                                                                        Page
                  2 MEMORANDUM OF POINTS AND AUTHORITIES ...................................................................1
                  3 I.       INTRODUCTION ..................................................................................................................1
                  4 II.      LEGAL STANDARD ............................................................................................................1
                  5 III.     ARGUMENT .........................................................................................................................2
                  6          A.        The Court Should Exclude Mr. Seifert’s “Industry Standard” Opinions ...................2
                  7                    1.         Mr. Seifert Is Unqualified To Opine On “De Facto Industry
                                                  Standards” Under Fed. R. Evid. 702(a) ..........................................................2
                  8
                                       2.         Mr. Seifert’s “Industry Standard” Opinions Are Unreliable Under
                  9                               Fed. R. Evid. 702(b) .......................................................................................3
                10                     3.         Mr. Seifert’s “Industry Standard” Opinions Are Unreliable Under
                                                  Fed. R. Evid. 702(c) .......................................................................................3
                11
                                       4.         Mr. Seifert’s “Industry Standard” Opinions Lack Reliable
                12                                Application Under Fed. R. Evid. 702(d) ........................................................5
                13                     5.         Mr. Seifert’s “Industry Standard” Opinions Are Irrelevant ...........................6
                14           B.        The Court Should Exclude Mr. Seifert’s “Market Effect” Opinions .........................7
                15                     1.         Mr. Seifert “Market Effect” Opinions Do Not Rest On Any
                                                  Specialized Expertise As Required By Fed. R. Evid. 702(a) .........................7
                16
                                       2.         Mr. Seifert’s “Market Effect” Opinions Are Unreliable Under Rules
                17                                702(b) and (c) .................................................................................................8
                18 IV.       CONCLUSION ......................................................................................................................9
                19
                20
                21
                22
                23
                24

                25
                26
                27
                28
                                                                         -i-                    Case No. 5:14-cv-5344-BLF
99998-77952/8229128.1                               CISCO’S MOTION TO EXCLUDE OPINION TESTIMONY OF WILLIAM M. SEIFERT
                         Case 5:14-cv-05344-BLF Document 426-7 Filed 08/05/16 Page 3 of 13



                                                                        TABLE OF AUTHORITIES
                  1
                                                                                                                                                              Page
                  2
                                                                                          Cases
                  3
                        Daubert v. Merrell Dow Pharmaceuticals, Inc.,
                  4        43 F.3d 1311 (9th Cir. 1995) ................................................................................................2, 4, 6
                  5 Daubert v. Merrell Dow Pharms., Inc.,
                       509 U.S. 579 (1993) .................................................................................................................1, 2
                  6
                    Feduniak v. Old Republic Nat’l Title Co.,
                  7    No. 13-cv-02060-BLF, 2015 WL 1969369 (N.D. Cal. May 1, 2015) .....................................2, 4
                 8 Finjan, Inc. v. Blue Coat Systems, Inc.,
                      No. 13-cv-03999, 2015 WL 4272870 (N.D. Cal. Jul. 14, 2015) ..................................................7
                 9
                                                                                 Statutes
                10
                   Fed. R. Evid. 702 ................................................................................................................................2
                11
                   Fed. R. Evid. 702(a) .......................................................................................................................2, 6
                12
                   Fed. R. Evid. 702(b) .......................................................................................................................6, 8
                13
                   Fed. R. Evid. 702(c) .......................................................................................................................2, 4
                14
                15
                16
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                18
                19
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                21
                22
                23
                24

                25
                26
                27
                28
                                                                              -ii-                   Case No. 5:14-cv-5344-BLF
99998-77952/8229128.1                                    CISCO’S MOTION TO EXCLUDE OPINION TESTIMONY OF WILLIAM M. SEIFERT
                        Case 5:14-cv-05344-BLF Document 426-7 Filed 08/05/16 Page 4 of 13




                  1         PLEASE TAKE NOTICE, that on September 9, 2016, at 9:00 a.m., before the Hon. Beth
                  2 Labson Freeman in the U.S. District Court for the Northern District of California, Plaintiff Cisco
                  3 Systems, Inc. (“Cisco”), will, and hereby does, respectfully move the Court under Fed. R. Evid.
                  4 401, 403, 702, and Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993), to exclude all
                  5 testimony from Defendant Arista Networks, Inc.’s proposed witness William M. Seifert. This
                  6 Motion is based on this Notice of Motion and Motion, the Memorandum of Points and Authorities
                  7 below, the Declaration of Andrew M. Holmes filed herewith, and such other papers, evidence and
                  8 argument as may be submitted to the Court.
                  9                       MEMORANDUM OF POINTS AND AUTHORITIES
                10 I.       INTRODUCTION
                11          Arista’s expert Mr. Seifert should not be permitted to opine that “Cisco’s CLI” is a “de

                12 facto industry standard.” A self-described “engineer/ entrepreneur,” Mr. Seifert lacks any relevant

                13 expertise in or scholarship concerning standard-setting practices. He invented his own four-part
                14 test for a “de facto industry standard” for this lawsuit, and admits that his test is subjective and has
                15 never been adopted elsewhere. Nor does he have any relevant expertise or knowledge about
                16 Cisco’s copyrighted CLI. His opinions purport to apply his novel and subjective test to Cisco’s
                17 CLI in so-called “generic” form rather than to any particular version of Cisco’s user interface, let
                18 alone to the multi-word command expressions (or command hierarchies, or modes and prompts) at
                19 issue), and he has no opinions relevant to the help descriptions. Thus, his opinions lack any value
                20 or usefulness for the Court or jury in deciding the issues in this case.
                21          Moreover, Mr. Seifert should not be permitted to opine that Cisco has suffered no harm
                22 from Arista’s infringing conduct, Mr. Seifert simply summarizes third-party materials (including
                23 blog posts) that he does not purport to have verified or analyzed.
                24          Thus, Mr. Seifert’s testimony should be excluded in its entirety.

                25 II.      LEGAL STANDARD

                26          Under Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharm., Inc., 509 U.S.

                27 579 (1993), this Court serves as a “gatekeeper” for expert opinion testimony. Under Rule 702, a
                28
                                                                  -1-                    Case No. 5:14-cv-5344-BLF
99998-77952/8229128.1                        CISCO’S MOTION TO EXCLUDE OPINION TESTIMONY OF WILLIAM M. SEIFERT
                         Case 5:14-cv-05344-BLF Document 426-7 Filed 08/05/16 Page 5 of 13




                  1 proposed expert may present opinion testimony to the jury only if:
                  2        (a) the expert’s scientific, technical, or other specialized knowledge will help the trier of fact to
                                understand the evidence or to determine a fact in issue;
                  3        (b) the testimony is based on sufficient facts or data;
                           (c) the testimony is the product of reliable principles and methods; and
                  4        (d) the expert has reliably applied the principles and methods to the facts of the case.
                  5 Fed. R. Evid. 702. As clarified in Daubert, the Court may consider whether the expert’s theory or
                  6 technique (1) may be objectively tested; (2) has been subject to peer review and publication; (3)
                  7 has a known rate of error; and (4) has been generally accepted. See 509 U.S. at 592-94. Other
                  8 factors include whether the proposed experts are “proposing to testify about matters growing
                  9 naturally and directly out of research they have conducted independent of the litigation, or whether
                10 they have developed their opinions expressly for purposes of testifying.” Daubert v. Merrell Dow
                11 Pharm., Inc., 43 F.3d 1311, 1317 (9th Cir. 1995); see also Feduniak v. Old Republic Nat’l Title
                12 Co., No. 13-cv-02060-BLF, 2015 WL 1969369, *1-2 (N.D. Cal. May 1, 2015) (discussing the

                13 legal standards for Daubert motions).
                14 III.        ARGUMENT
                15             A.      The Court Should Exclude Mr. Seifert’s “Industry Standard” Opinions
                16                     1.      Mr. Seifert Is Unqualified To Opine On “De Facto Industry Standards”
                                               Under Fed. R. Evid. 702(a)
                17
                               Mr. Seifert opines that a “de facto industry standard” is “one[] that emerge[s] over time as
                18
                        a result of widespread adoption throughout a given industry” or “one that typically emerges over
                19
                        time owing to its widespread adoption by users,” but Mr. Seifert lacks any qualifications to do so.
                20
                        Ex. 5, Opening Expert Report of William M. Seifert (“Seifert Rep.”) at ¶¶6, 38 ).1 Mr. Seifert’s
                21
                        CV discloses no experience with any industry standard-setting organization and no research or
                22
                        publications on the topic of industry standards, whether de jure or de facto. Ex . 5, Seifert Rep. at
                23
                        Ex. A. He thus lacks any specialized knowledge that could assist the jury on these questions as
                24
                        required by Rule 702(a).
                25
                26
                27         1
                        Unless otherwise noted, references to “Ex.” herein refer to exhibits to the Declaration of
                28 Andrew M. Holmes filed concurrently herewith.

                                                                     -2-                    Case No. 5:14-cv-5344-BLF
99998-77952/8229128.1                           CISCO’S MOTION TO EXCLUDE OPINION TESTIMONY OF WILLIAM M. SEIFERT
                         Case 5:14-cv-05344-BLF Document 426-7 Filed 08/05/16 Page 6 of 13



                                       2.     Mr. Seifert’s “Industry Standard” Opinions Are Unreliable Under Fed.
                  1                           R. Evid. 702(b)
                  2            Mr. Seifert’s “de facto industry standard” opinions should also be excluded because they

                  3 are not based on sufficient facts or data as required by Rule 702(b). He relied on (and

                  4 incorporated into his report) a series of charts purporting to show third-party usage (or wide

                  5 adoption) of hundreds of elements of Cisco’s CLI—to support his “de facto industry standard”

                  6 opinions—without having prepared those charts, and without having done anything except to

                  7 “              ” them after Arista counsel provided them. Ex. 6, 6/29/2016 Deposition Transcript of

                  8 William M. Seifert (“Seifert Depo.”) at 137:14-143:10. Moreover, he showed unfamiliarity with

                  9 the relevant history; while it is undisputed that Cisco’s copyrighted CLI features have been

                10 originated and released publicly since the 1980s, Mr. Seifert was

                11                                . See id. at 38:16-43:3. Mr. Seifert also admitted he has not
                12                                                                                                         .
                13 Id. at 74:14-75:8.

                14                     3.     Mr. Seifert’s “Industry Standard” Opinions Are Unreliable Under Fed.
                                              R. Evid. 702(c)
                15
                               Mr. Seifert’s “industry standard” opinions also should be excluded because they do not rest
                16
                        on reliable principles and methods as required by Rule 702(c). In particular, they are not subject
                17
                        to objective testing; have not been subjected to peer review; have no known or potential error rate
                18
                        or standards and controls; and have not been generally accepted. Daubert, 509 U.S. at 593–94.
                19
                               First, Mr. Seifert’s has failed to identify anyone else who has ever used or accepted the
                20
                        definition of a “de facto industry standard” that he created and proposed in his report. To the
                21
                        contrary, Mr. Seifert was unable at his deposition
                22
                                                                                    . See Ex. 6, Seifert Depo. at 81:10-
                23
                        82:12 (“
                24

                25
                                                       ”). Nor could he explain how “widespread” a technology must be
                26
                        before becoming a “de facto industry standard,” id. at 55:14-56:13, or how a supposed “de facto
                27
                        industry standard” differs from a technology that simply is popular, id. at 136:12-18 (“
                28
                                                                     -3-                    Case No. 5:14-cv-5344-BLF
99998-77952/8229128.1                           CISCO’S MOTION TO EXCLUDE OPINION TESTIMONY OF WILLIAM M. SEIFERT
                         Case 5:14-cv-05344-BLF Document 426-7 Filed 08/05/16 Page 7 of 13




                  1                                            ”). While Mr. Seifert at his deposition offered his own four-

                  2 part test for a “de facto industry standard,” see id. at 25:7-26:15, he again failed to identify anyone

                  3 who had ever adopted that test, see id. at 26:17-21 (“

                  4

                  5              ”); id. at 26:23-27:4 (“
                  6

                  7              ”); id. at 27:19-24 (“
                  8

                  9        ”).
                10               Second, Mr. Seifert’s “de facto industry standard” testimony is admittedly subjective and
                11 thus incapable of objective testing. As to each of the “roughly four characteristics” of such a

                12 standard as he defines it, id. at 25:21-26:15, he admitted that the inquiry under each factor is

                13 “subjective” and depends on one’s “business judgment” or the “eye of the beholder”:

                14
                           •     For the first Seifert factor (large market size): Id. at 28:2-18 (“
                15                                                                                  ”); see also id. at 32:22-33:6.

                16         •     For the second Seifert factor (sufficient number of market participants): Id. at 28:20-29:6
                                 (“                                                                   ”); see also id. at 33:7-
                17               16 (“
                                                                                               .”).
                18

                19         •     For the third Seifert factor (scarce human resources to implement technology): Id. at 29:8-
                                 35:9 (explanation that meeting this factor is “
                20                                                                                                   ”).
                21
                           •     For the fourth Seifert factor (sufficiently complex system): Id. at 35:11-37:20 (“
                22
                                                                   ”).
                23
                                 Third, Mr. Seifert invented his definition and four-part test for this case, and thus they
                24
                        cannot be independently tested or subject to a known risk of error. See Kumho Tire Co, Ltd.. v.
                25
                        Carmichael, 119 S.Ct. 1167, 1176 (1999) (Daubert requires courts to assure that an expert
                26
                        “employs in the courtroom the same level of intellectual rigor that characterizes the practice of an
                27
                        expert in the relevant field”); Feduniak, 2015 WL 1969369, at *4 (considering “the ‘very
                28
                                                                        -4-                    Case No. 5:14-cv-5344-BLF
99998-77952/8229128.1                              CISCO’S MOTION TO EXCLUDE OPINION TESTIMONY OF WILLIAM M. SEIFERT
                         Case 5:14-cv-05344-BLF Document 426-7 Filed 08/05/16 Page 8 of 13




                  1 significant fact’ that [the expert’s] methodology was developed for th[e] litigation”); id. at *3

                  2 (excluding opinion testimony where a novel appraisal technique could not be tested objectively,

                  3 had not been subject to peer review, had no known error rate because never previously applied,

                  4 and lacked any showing that it had been “generally accepted as an appropriate method”).

                  5                    4.      Mr. Seifert’s “Industry Standard” Opinions Lack Reliable Application
                                               Under Fed. R. Evid. 702(d)
                  6
                               Mr. Seifert’s “industry standard” opinions should be excluded for the additional reason that
                  7
                        he fails to apply his principles and methods reliably to the facts of the case as required by Rule
                  8
                        702(d). For example, Mr. Seifert opines that “Cisco’s CLI” has become a “de facto industry
                  9
                        standard,” and yet was unable to say at his deposition when that supposedly happened. See Ex. 6,
                10
                        Seifert Depo. at 44:20-46:19 (“
                11

                12

                13

                14
                                                                                       ”).
                15
                               Mr. Seifert likewise was unable to say whether any specific aspects of Cisco’s CLI satisfy
                16
                        his four-part test, relying instead on a supposed “generic” concept of CLI. See id. at 64:24-71:16
                17
                        (declining to specify particular aspects of Cisco’s CLI met his standards for “de facto industry
                18
                        standard”); id. at 69:17-22 (“
                19

                20
                                                              ”); id. at 70:17-20 (“
                21

                22
                                                              .”); id. at 70:21-71:2 (for “asserted hierarchies”: “
                23
                                               ”); id. at 71:4-16 (for “commands modes and prompts”: “
                24
                                               ”); see also id. at 106:13-23 (Q. “
                25

                26
                                                     ”); id. at 76:20-77:16 (“
                27

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                                                                     -5-                    Case No. 5:14-cv-5344-BLF
99998-77952/8229128.1                           CISCO’S MOTION TO EXCLUDE OPINION TESTIMONY OF WILLIAM M. SEIFERT
                        Case 5:14-cv-05344-BLF Document 426-7 Filed 08/05/16 Page 9 of 13




                  1

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                  3

                  4      ”); id. at 93:15-94:1. Indeed, Mr. Seifert admitted that he was unaware that the “Cisco CLI” at

                  5 issue in this case derives from different Cisco computer programs (namely, different versions of

                  6 Cisco IOS, Cisco IOS XR, Cisco IOS XE, and Cisco NX-OS) with varying CLIs. See id. at 94:11-

                  7 20 (“

                  8                                                                                            ”); see
                  9 also id. at 97:10-98:5 (testifying that

                10

                11                                                       ).
                12           While Mr. Seifert attempted to excuse these fatal failings by explaining that his opinion
                13 was directed to Cisco’s CLI in “generic” or “general” form, he failed to specify what characterizes

                14 such a technology and could not explain which aspects of Cisco’s CLI in general supposedly

                15 comprise a “de facto industry standard.” See id. at 61:13-19 (“

                16

                17

                18                                       ”); id. at 72:13-18 (“
                19

                20                                                                ”); id. at 76:20-77:16 (“
                21

                22

                23

                24                                                                               ”).
                25                  5.      Mr. Seifert’s “Industry Standard” Opinions Are Irrelevant
                26           Rule 702 “assign[s] to the trial judge the task of ensuring that an expert’s testimony both
                27 rests on a reliable foundation and is relevant to the task at hand.” Daubert, 509 U.S. at 591.

                28
                                                                  -6-                    Case No. 5:14-cv-5344-BLF
99998-77952/8229128.1                        CISCO’S MOTION TO EXCLUDE OPINION TESTIMONY OF WILLIAM M. SEIFERT
                        Case 5:14-cv-05344-BLF Document 426-7 Filed 08/05/16 Page 10 of 13




                  1 “Fed. R. of Evid. 403 gives the court discretion to exclude relevant evidence ‘if its probative value

                  2 is substantially outweighed by a danger of… unfair prejudice, confusing the issues, misleading the

                  3 jury, undue delay, wasting time, or needlessly presenting cumulative evidence.’” Id. Here, Mr.

                  4 Seifert’s opinions relating to the existence of a “de facto industry standard” CLI are not relevant to

                  5 any claim or defense and if permitted would certainly confuse the jury to Cisco’s detriment. Fed.

                  6 R. Evid. 401, 403. There is no “industry standard” defense to copyrightability. As the court

                  7 explained in Oracle Am., Inc. v. Google Inc., 750 F.3d 1339 (Fed. Cir. 2014), there is no authority

                  8 for the proposition that “that copyrighted works lose protection when they become popular.” Id.

                  9 at 1372. To the contrary, the Oracle court noted, “the Ninth Circuit has rejected the argument that

                10 a work that later becomes the industry standard is uncopyrightable.” Id. (citing Practice Mgmt.

                11 Info. Corp. v. Am. Med. Ass’n, 121 F.3d 516, 520 n.8 (9th Cir. 1997)). Mr. Seifert’s de facto

                12 industry standard opinions thus are of no consequence to determining any issue in this case and

                13 would only confuse the jury and prejudice Cisco. Daubert, 509 U.S. at 591 (expert testimony that

                14 does not “relate to any issue in the case is not relevant”).

                15             B.      The Court Should Exclude Mr. Seifert’s “Market Effect” Opinions
                16             Under Rule 702 and Daubert, Mr. Seifert’s expert testimony should also be excluded

                17 insofar as he opines that Cisco has not been harmed by Arista’s infringing conduct because Arista

                18 supposedly sells switches and routers for reasons other than its copying of Cisco’s CLI. See Ex. 5,

                19 Seifert Rep. at ¶¶ 86-113. Mr. Seifert offers no specialized expertise that could possibly support

                20 this opinion, which is based mostly on third-party sources he has not verified.

                21                     1.     Mr. Seifert “Market Effect” Opinions Do Not Rest On Any Specialized
                                              Expertise As Required By Fed. R. Evid. 702(a)
                22
                               Rule 702(a) requires the application of specialized expertise, but Mr. Seifert simply
                23
                        summarizes (without analysis) market-related materials prepared by others. For example, he cites
                24
                        Arista documents and Arista employee deposition testimony to purportedly opine on the
                25
                        expectations of unspecified “customers.” Id. at ¶ 104; see id. at ¶ 103 (“
                26

                27

                28
                                                                     -7-                    Case No. 5:14-cv-5344-BLF
99998-77952/8229128.1                           CISCO’S MOTION TO EXCLUDE OPINION TESTIMONY OF WILLIAM M. SEIFERT
                        Case 5:14-cv-05344-BLF Document 426-7 Filed 08/05/16 Page 11 of 13




                  1                 ”).2 None of those third-party materials, however, needs any “expert opinion” to be

                  2 explained to the jury, nor does Mr. Seifert purport to analyze them based on any specialized

                  3 expertise. To the contrary, he states that he “

                  4                                                                      ” Id. at ¶ 103. An expert may not

                  5 purport to speak for third parties or weigh for the jury factual evidence. See Finjan, Inc. v. Blue

                  6 Coat Sys, Inc., No. 13-cv-03999, 2015 WL 4272870, *3 (N.D. Cal. Jul. 14, 2015) (“what

                  7 Defendant thought about Plaintiff’s patents is not the proper subject of expert testimony, nor are

                  8 Drs. Cole and Medvidovic qualified to offer opinions regarding Defendant’s subjective beliefs”).

                  9            Nor may an expert offer a factual conclusion about third-party choices or preferences. See
                10 id. (expert testimony inadmissible as to third-party beliefs). Mr. Seifert thus should not be

                11 permitted to testify (see Ex. 5, Seifert Rep.¶ 113) that “

                12

                13

                14              ” That conclusion is based solely on his summaries—without analysis—of information
                15 from third parties. Id. at ¶ 106 (summarizing and citing two Network World articles, a Crehan

                16 Quarterly Market Shares report, and Arista documentation); 108 (presenting market share data

                17 from Crehan and citing Network World); ¶ 109 (summarizing a Nasdaq.com article about Arista’s

                18 IPO); ¶ 110 (summarizing Crehan market share data).

                19                     2.     Mr. Seifert’s “Market Effect” Opinions Are Unreliable Under Rules
                                              702(b) and (c)
                20
                               Mr. Seifert lacks any reliable factual or technical basis to opine that Arista’s growing
                21
                        market share in switches or routers results from factors other than Arista’s copying of Cisco’s
                22
                        CLI, as would be required for admissibility under Rules 702(b) and (c). For example, Mr.
                23

                24         2
                           In the section of his report entitled “The evolving market for Ethernet Switching,” for
                25 example, he summarizes a market report from MediaBuyerPlanner.com. Ex. 5, Seifert Rep. at ¶
                   88. He then summarizes a report from the Dell’Oro Group. Id. at ¶ 90. He summarizes an
                26 Ethernet Alliance presentation. Id. at ¶91. He quotes a long passage from a Facebook web page.
                   Id. at ¶ 92. He then summarizes a handful of articles from the publications Network World and
                27
                   Computer World. Id. at ¶¶ 93-95. He then summarizes a series of Arista marketing presentations
                28 and promotional materials, and deposition testimony from an Arista executive. Id. at ¶¶ 96-102.
                                                                     -8-                    Case No. 5:14-cv-5344-BLF
99998-77952/8229128.1                           CISCO’S MOTION TO EXCLUDE OPINION TESTIMONY OF WILLIAM M. SEIFERT
                        Case 5:14-cv-05344-BLF Document 426-7 Filed 08/05/16 Page 12 of 13




                  1 Seifert’s list of materials relied upon shows that he did not inspect any Arista or Cisco router or

                  2 switch, nor even use any Arista software to be able to opine on its technical merits. See id., Ex. 5,

                  3 Seifert Rep. at Exhibit B. Mr. Seifert opines (id. at ¶ 112) that “

                  4                                                            ” based not on his expertise or his own

                  5 technical analysis but rather based on the personal blog of an individual named Brad Reese. Ex. 5,

                  6 Seifert Rep. ¶ 112 n.121 (citing http://www.bradreese.com/blog/3-18-2015.htm).3 For further

                  7 example, Mr. Seifert purports to address market harm for “

                  8                      ” (id. at ¶113), but he admitted, “                             ,” Ex. 6, Seifert
                  9 Depo. at 94:11-15, and was only “            ” familiar with NX-OS, id. at 94:22-95:1.
                10            For all these reasons, Mr. Seifert’s “market effect” testimony should be excluded.
                11 IV.        CONCLUSION
                12            For all the foregoing reasons, Cisco’s Motion to Exclude the Opinion Testimony of
                13 William M. Seifert in its entirety should be GRANTED.

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                24        3
                          Mr. Reese describes himself as the grandson of the inventor of Reese’s Peanut Butter Cups
                25 who is on a “mission” to “make REESE’S the #1 global candy brand.” See
                   http://www.bradreese.com/about-brad-reese.htm. Mr. Reese’s blog makes irrelevant attacks on
                26 Cisco but shows no reliable basis on which to form admissible expert opinion testimony about the
                   technical merits of Cisco versus Arista products. See, e.g.,
                27
                   http://www.bradreese.com/blog/archive.htm (showing a history of blog postings about Cisco and a
                28 “sex slaver,” Cisco “certification cheats,” and the stock sales of Cisco employee family members).
                                                                   -9-                    Case No. 5:14-cv-5344-BLF
99998-77952/8229128.1                         CISCO’S MOTION TO EXCLUDE OPINION TESTIMONY OF WILLIAM M. SEIFERT
                        Case 5:14-cv-05344-BLF Document 426-7 Filed 08/05/16 Page 13 of 13



                        Dated: August 5, 2016                         Respectfully submitted,
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                                                                     -10-                   Case No. 5:14-cv-5344-BLF
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